EXHIBIT
 E.16
                                                                            PXCOVED
                                                                     ri':r.l'iT
ALBERT BROWN                                          IN THE                  r
1031 N. Mount Street
                                                      CIRCUIT COUI^Q frS ?0 P ^ tjU
Baltimore, MD 21217
                                                      OF MARYLAND C':ViL O'VISION
        Plaintiffs,
                                                      FOR

                                                      BALTIMORE CITY
OFFICER WAYNE E. JENKINS,
Baltimore City Police Department
                                              *
601 E. Fayette Street
Baltimore, MD 21202                                   Case No. :24-C-19-004047
                                              *

And
                                              *

OFFICER JEMELL RAYAM,
Baltimore City Police Department             *        JURY TRIAL DEMANDED
601 E. Fayette Street
Baltimore, MD 21202                          *
                                                                                                     I

And

Serve On:
Andre Davis, Esq., City Solicitor
100 N. Holliday Street, Suite 101
Baltimore, MD 21202

       Defendants                            *

                                             *
                                                                                                 •   i

************
               AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Albert Brown, by and through their attorney Tony N. Garda, Esquire, and Bates

& Garcia LLC., and Michael E. Glass, Esquire, MBA, and the Michael Glass Law Firm hereby

bring this Complaint against Defendants, Officers Wayne E. Jenkins (“Jenkins”), and Jemell

Rayam (“Rayam”) (collectively, “Defendants”) and for cause states:

                      THE PARTIES. JURISDICTION AND VENUE

1.        Plaintiff is a citizen of Baltimore City, Maryland.


                                                  1
 2.          Defendants Jenkins and Rayam, at all relevant times to Plaintiffs’ claims were officers

 of the BCPD. acting within the scope of his employment (unless stated otherwise herein).

 3.         This Court has jurisdiction over this case under Md. Cts. & Jud. Proc. § 6-103(b),

 because all of the Defendants live, transact business, perform work and provide services in

 Maryland, regularly conduct and solicit business in Maryland, and engage in other persistent

 courses of conduct in Maryland.

 4.         Venue for this case is proper under Md. Cts. & Jud. Proc. § 6-201(a) and 6-201(b),

because Defendants all carry on regular business in Baltimore City, Maryland, and Plaintiffs’

complained of injury occurred in Baltimore City, Maryland.

                                    STATEMENT OF FACTS

5.          On or around August 1,2016, Jenkins and Rayam were working in plain clothes in an

unmarked vehicle. Jenkins and Rayam observed a black Honda Odyssey in a gas station parking

lot at 3312 Reisterstown Road and stopped Plaintiff without justification. Without cause, Jenkins

and Rayam searched his vehicle, and falsely arrested him on narcotics and firearm charges.

6.         Jenkins and Rayam proceeded to then go to Plaintiff’s house and performed a

warrantless search of the house which resulted in additional charges including multiple narcotics

charges including possession (large amount), possession with intent to use, and possession with

intent to distribute, in District Court Case No. 3B02329687 and Circuit Court Case No. 116235004

and 1162385008.

7.       It is well known that these officers have engaged in crimes including but not limited to
                                                     t
making false arrests, filing false police reports, racketeering, conspiracy, overtime fraud,

corruption, drug conspiracy, robbery of victims, and a variety of other illegal activities.

8.         Upon and belief, at the time of Plaintiff s arrest on August 1,2016, these officers were




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 under investigation for illegal activity, and the BCPD knew that any arrests made or police reports

 filed by these officers were suspect and likely to be false and/or unsupported by evidence

 (including but not limited to thefts perpetrated on March 22, 2016 and July 8, 2016) prior to

 Plaintiffs arrests.

 9.          Defendants Jenkins, and Rayam were not properly trained, supervised, disciplined or

 screened and were knowingly allowed to perpetrate crimes against Baltimore and Maryland

 citizens, including Plaintiff.

 10.        Defendants Jenkins, and Rayam engaged in a pattern and practice of false arrests, filing

false police reports, and other crimes.

 11.        Defendants Jenkins, and Rayam engaged in an unconstitutional pattern of depriving

citizens (including Plaintift) of life, liberty and property and, further, did so with intentional

malice.

12.        The charges brought against Plaintiff were ultimately nolle pressed, but not before they

were forced to incur costs to post bond (that was set at $200,000) and pay attorneys’ fees.

13.         Plaintiff incurred humiliation, and substantial mental pain and suffering as a result of

the false, meritless charges and arrest, and incarceration. Plaintiff incurred substantial financial

hardship, and suffered severe mental anguish, medical and other related expenses, loss of income,

loss of dignity, and trauma as a result of being defamed, falsely charged, and falsely arrested.

14.         Indeed, given the complete lack of evidence and that the case was fabricated, it never

should have gone forward to begin with.           Thus, Plaintiff was charged and incarcerated

unnecessarily, and forced to incur unnecessary economic hardship and severe mental anguish,

medical and other related expenses, loss of income, loss of dignity, and trauma.




                                                 3
                        COUNT ONE - INTENTIONAL DEFAMATION

 15.        The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

 16.        The Defendants' allegations that Plaintiffs committed various crimes are defamatory in

 nature as they exposed Plaintiffs, as private persons, to public scorn, hatred, contempt, ridicule and

 otherwise impugned Plaintiffs’ characters.

 17.        The accusations that Plaintiffs committed various crimes imputes defamatory character

 and are actionable per se.

 18.        Defendants published their defamatory statements to third persons including the police,

the office of the State's Attorney, the courts and the public in general.

 19.        Defendants' allegations were demonstrably false and ultimately resulted in the charges

against Plaintiffs being nolle pressed.

20.         Defendants knew that the allegations were false and as such, acted with actual malice

as they possessed knowledge of the falsity of the statements or reckless disregard for the truth of

the statements, such knowledge which can be imputed to Defendants.

21.        Indeed, Defendants had established a pattern and practice of falsely charging citizens

of Baltimore City and committing other crimes.

22.        As a direct and proximate result of Defendants’ defamatory statements, Plaintiff was

incarcerated unnecessarily, lost business opportunities, incurred substantial financial hardship,

medical and other related expenses, suffered loss of income, and additionally suffered severe

mental anguish, loss of dignity, trauma, inconvenience, and damage to image and reputation as a

result of the false accusations and incarceration.

       WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
           a) For compensatory and punitive damages in excess of $75,000;
           b) For monetary damages in excess of $75,000;



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                 c)   Pre and post-judgment interest;
                 d)   For reasonable attorney’s fees;
                 e)   For costs of suit herein incurred; and
                 f)   For such other and further relief as the court may deem proper.

                          COUNT TWO - NEGLIGENT DEFAMATION
                                   fin the alternative)

 23.        The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

 24.        The Defendants' allegations that Plaintiff committed various crimes are defamatory in

nature as they exposed Plaintiffs, private persons, to public scorn, hatred, contempt, and ridicule.

25.         Defendants published their defamatory statements to third persons including but not

limited to police, the office of the State's Attorney, the courts and the public in general.

26.         Defendants' allegations were demonstrably false and ultimately resulted in the charges

against Plaintiffs being nolle pressed.

27.         Defendants acted negligently, and with intentional malice, by inaccurately identifying

the Plaintiff to authorities and others, by failing to verify any of their allegations before publication,

by failing to investigate, by making statements without knowledge of their accuracy, by overstating

their confidence in their allegations, by rushing to judgment, by erroneously relying on Plaintiffs’

records as basis for guilt, and were otherwise negligent.

28. -      As a direct and proximate result of Defendants’ defamatory statements, Plaintiff was

incarcerated unnecessarily, lost business opportunities, incurred substantial financial hardship,

medical and other related expenses, suffered loss of income, and additionally suffered severe

mental anguish, loss of dignity, trauma, inconvenience, and injury to reputation and image as a

result of the false accusations and incarceration.
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        WHEREFORE, Plaintiffs pray judgment jointly and severally against Defendants as
follows:
                 a) For compensatory damages in excess of $75,000;
                 b) For monetary damages in excess of $75,000;



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            /
                 c) Pre and post-judgment interest;
                 d) For costs of suit herein incurred; and
                 e) For such other and further relief as the court may deem proper.

      COUNT THREE - INVASION OF PRIVACY - INTRUSION UPON SECLUSION
                              (Albert Brown)

29.         The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

30.         The Defendants' allegations that Plaintiff committed various crimes led to Plaintiffs

public arrest.

31.         Defendants possessed knowledge of the falsity of the statements or reckless disregard

for the truth of the statements.

32.         Defendants subjectively and objectively knew or should have known that intruding into

Plaintiffs private life and causing his illegal arrest and the institution of criminal proceedings

against him would be highly offensive to a reasonable person.

33.        As a direct and proximate result of Defendants’ offensive intrusion upon Plaintiffs

personal life, Plaintiff was incarcerated unnecessarily for approximately four months, lost his job,

incurred substantial financial hardship, medical and other related expenses, suffered loss of

income, and additionally suffered severe mental anguish, loss of dignity, trauma, inconvenience,

and tire exacerbation of preexisting depression and sensitive medical conditions as a result of the

false accusations and incarceration.

       WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
           a) For compensatory and punitive damages in excess of $75,000;
           b) Monetary damages in excess of $75,000;
           c) Pre and post-judgment interest;
           d) For reasonable attorney’s fees;
           e) For costs of suit herein incurred; and
           f) For such other and further relief as the court may deem proper.




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  COUNT FOUR - INVASION OF PRIVACY - UNREASONABLE PUBLICITY GIVEN
                           TO PRIVATE LIFE
                             (Albert Brown)

 34.        The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

35.         The Defendants' allegations that Plaintiff committed various crimes led to Plaintiffs

public arrest.

36.         Defendants possessed knowledge of the falsity of the statements or reckless disregard

for the truth of the statements.

37.         Defendants’ published to others purported matters of Plaintiffs private life that were

false and therefore not of valid concern to the public.

38.        Defendants subjectively and objectively knew or should have known that intruding into

Plaintiffs private life and causing his illegal arrest and the institution of criminal proceedings

against him would be highly offensive to a reasonable person.

39.        As a direct and proximate result of Defendants’ offensive intrusion upon Plaintiffs

personal life, Plaintiff was incarcerated unnecessarily for approximately four months, lost his job,

incurred substantial financial hardship, medical and other related expenses, suffered loss of

income, and additionally suffered severe mental anguish, loss of dignity, trauma, inconvenience,

and the exacerbation of preexisting depression and sensitive medical conditions as a result of the

false accusations and incarceration.

       WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
           a) For compensatory and punitive damages in excess of $75,000;
           b) For monetary damages in excess of $75,000;
           c) Pre and post-judgment interest;
           d) For reasonable attorney’s fees;
           e) For costs of suit herein incurred; and
           f) For such other and further relief as the court may deem proper.




                                                 7
 COUNT FIVE - INVASION OF PRIVACY - PLACING A PERSON IN A FALSE LIGHT
                             (Albert Brown)

 40.         The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

 41.         The Defendants' allegations that Plaintiff committed various crimes are defamatory in

 nature as they exposed Plaintiff, a private person, to public scorn, adverse publicity, hatred,

 contempt, ridicule and otherwise impugned Plaintiffs character.

 42.         The accusations that Plaintiff committed various crimes imputes defamatory character

 and are actionable per se.

 43.         Defendants published their defamatory statements to third persons including but not

 limited to Park West staff, police, the office of the State's Attorney, the courts and the public in

general.

44.         Defendants' allegations were demonstrably false and ultimately resulted in the charges

against Plaintiff being nolle pressed.

45.         Defendants acted with actual malice as they possessed knowledge of the falsity of the

statements or reckless disregard for the truth of the statements.

46.         The Defendants’ allegations that Plaintiff committed various crimes led to Plaintiffs

public arrest.

47.         Defendants subjectively and objectively knew or should have known their conduct and

allegations, causing Plaintiffs illegal arrest and the institution of criminal proceedings against him,

would be highly offensive to a reasonable person under the circumstances.

48.         As a direct and proximate result of Defendants’ conduct, Plaintiff was incarcerated

unnecessarily, lost his job, incurred substantial financial hardship, medical and other related

expenses, suffered loss of income, and additionally suffered severe mental anguish, loss of dignity,

trauma, inconvenience, and the exacerbation of preexisting depression and sensitive medical



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 conditions as a result of the false accusations and incarceration.

         WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
 follows:
             a) For compensatory and punitive damages in excess of $75,000;
             b) For monetary damages in excess of $75,000;
             c) Pre and post-judgment interest;
             d) For reasonable attorney’s fees;
             e) For costs of suit herein incurred; and
             f) For such other and further relief as the court may deem proper.

                   COUNT SIX - NEGLIGENCE/NEGLIGENT TRAINING
                                   (Albert Brown)

49.         Hie preceding and subsequent paragraphs (with the exceptions of Counts One, Three,

Four, Five, Seven and Eight) are incorporated as if fully set forth herein.

50.         All Defendants owed the general public an ordinary duty of care and also owed

Plaintiff, a specific duty of care to protect his interests, health, confidentiality, and his privacy.

51.        Defendants Jenkins and Rayam breached their duty of care as by engaging in a pattern

and practice of false arrests, filing false police reports, unlawful entry into people’s homes,

illegally searching citizens, illegally seizing private property and other crimes, and that each

defendant did so with intentional malice, in an attempt to injure Plaintiff.

52.        As a direct and proximate result of Defendant officers individually, or the negligent

training of Defendants by Baltimore City Police Department (BCPD), Plaintiff suffered unlawful

incarceration, financial losses, humiliation, mental anguish, loss of income, incurred attorney fees,

and other related expenses.

       WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
           a) For compensatory damages in excess of $75,000;
           b) For monetary damages in excess of $75,000;
           c) Pre and post-judgment interest;
           d) For costs of suit herein incurred; and
           e) For such other and further relief as the court may deem proper.




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       COUNT SEVEN - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              (Albert Brown)

 53.         The preceding and subsequent paragraphs (with the exceptions of Counts Two and Six)

 are incorporated as if fully set forth herein.

 54.        The Defendants' allegations that Plaintiff committed various crimes are severe, extreme

and outrageous.

55.         Defendants' allegations were intentionally or recklessly designed to cause to

punishment, sanctions, incarceration, public scorn, hatred, contempt, and ridicule, and done so

with malice.

56.         As a direct and proximate result of Defendants’ wrongful statements and actions,

Plaintiff was incarcerated unnecessarily, lost his job, incurred substantial financial hardship,

medical and other related expenses, suffered loss of income, and additionally suffered severe

mental anguish, emotional distress, loss of dignity, trauma, inconvenience, and the exacerbation

of preexisting depression and sensitive medical conditions as a result of the false accusations and

incarceration.

       WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
           a) For compensatory and punitive damages in excess of $75,000;
           b) For monetary damages in excess of $75,000;
           c) Pre and post-judgment interest;
           d) For reasonable attorney’s fees;
           e) For costs of suit herein incurred; and
           f) For such other and further relief as the court may deem proper.

                       COUNT EIGHT - MALICIOUS PROSECUTION
                                   (Albert Brown)

57.        The preceding and subsequent paragraphs (with the exceptions of Counts Two and Six)

are incorporated as if fully set forth herein.

58.        The Defendants' statements to police alleging that Plaintiff committed various crimes



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 against their persons and property directly resulted in the institution of a criminal proceeding by

 the Defendants against the Plaintiff.

 59.         Thei criminal proceedings were subsequently nolle pressed and therefore terminated in

 favor of the Plaintiff

 60.        Tire basis for the nolle pros was that there was a complete absence of probable cause

 for the proceeding and Defendants' allegations were unsubstantiated and false.

 61.        The prosecution was instituted with malice.

 62.        Defendants are responsible for directing or requesting a prosecution on the basis of

information which was known to be false;

63.         Defendants withheld infonnation from police which reasonable persons would realize

might affect the ability to criminally prosecute.

64.         Defendants gave inaccurate information to the police or prosecutor.

65.         Defendants allowed the prosecution, once initiated, to continue for months after the

Defendants learned or reasonably should have known that the underlying facts on which the

prosecution was based were false (and therefore probable cause was lacking).

66.         As a direct and proximate result of Defendants’ initiation of a wrongful prosecution,

Plaintiff was incarcerated unnecessarily, lost his job, incurred substantial financial hardship,

medical and other related expenses, suffered loss of income, and additionally suffered severe

mental anguish, emotional distress, loss of dignity, trauma, inconvenience, and the exacerbation

of preexisting depression and sensitive medical conditions as a result of the false accusations and

incarceration.

        WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
            a) For compensatory and punitive damages in excess of $75,000;
            b) For monetary damages in excess of $75,000;



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                   c)    Pre and post-judgment interest;
                   d)    For reasonable attorney’s fees;
                   e)    For costs of suit herein incurred; and
                   f)    For such other and further relief as the court may deem proper.

                                     COUNT NINE - FALSE ARREST
                                           (Albert Brown)

     67.       The prior and subsequent paragraphs are incorporated as if fully set forth herein.

     68.       Defendants Jenkins and Rayam unlawfully deprived Plaintiff of his liberty.

     69.       Plaintiff did not consent to the deprivation of his liberty and was held against his

 will for an extended period.

    70.        Defendant and the BCPD were without legal justification for depriving Plaintiff of

his liberty.

    71.        Asa direct and proximate result of the false imprisonment by Defendant Jenkins and

Rayam and the BCPD, Plaintiff has sustained emotional, mental, and physical pain and

suffering, and economic loss.

           WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                        a)   For compensatory damages in excess of $75,000;
                        b)   For monetary damages in excess of $75,000;
                        c)   Pre and post-judgment interest;
                        d)   For reasonable attorney’s fees;
                        e)   For costs of suit herein incurred; and
                        f)   For such, other and further relief as the court may deem proper.

               COUNT TEN - FALSE ARREST (Actual Malice in the Alternative)
                                  (Albert Brown)

   72.        The prior and subsequent paragraphs are incorporated as if fully set forth herein. -

   73.       Defendants unlawfully deprived Plaintiff of his liberty.

   74. >     Plaintiff did not consent to the deprivation of his liberty and was held against his

will for an extended period.




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      75.       Defendants, their agents, and their employees were without legal justification for

 depriving Plaintiff of his liberty.

     76.        The conduct of Defendant was grossly negligent, reckless, and/or perpetrated with

 actual malice. Indeed, Plaintiff was arrested for reasons other than in pursuit of prosecuting

 criminal conduct allegedly peipetrated by Plaintiff.

     77.        There was no probable cause for arresting Plaintiff, and the arrest was made with a

 reckless disregard of the consequences affecting the life and property of Plaintiff, and a

 thoughtless disregard of tire grave consequences to Plaintiff.

     78.        Tire injuries inflicted on Plaintiff by Defendants were done wantonly and willfully

 with such utter indifference to the rights of Plaintiff that Defendants acted in complete disregard

of Plaintiffs rights as if such rights did not exist.

    79.       As a direct and proximate result of the false imprisonment by Defendants, Plaintiff

has sustained emotional, mental, and physical pain and suffering, missed tune from work and

leisure activities, past and future medical expenses; and economic loss.

           WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                      a)   For compensatory damages in excess of $75,000;
                      b)   For monetary damages in excess of $75,000;
                      c)   Pre and post-judgment interest;
                      d)   For reasonable attorney’s fees;
                      e)   Punitive Damages;
                      f)   For costs of suit herein incurred; and
                      g)   For such other and further relief as the court may deem proper.

                        COUNT ELEVEN - FALSE IMPRISONMENT
                                   (Albert Brown)

    80.      The foregoing and subsequent paragraphs are incorporated by reference as if fully set

forth herein.

   81.       All Defendants unlawfully deprived Plaintiff of his liberty.



                                                    13
      82.       Plaintiff did not consent to the deprivation of his liberty and was held against his will

 for an extended period.

      83.       Defendants were without legal justification for depriving Plaintiff of his liberty.

      84.       As a direct and proximate result of the false imprisonment by Defendants, their agents,

 and their employees, Plaintiff has sustained emotional, mental, and physical pain and suffering,

 missed time from work and leisure activities, past and future medical expenses; eviction from his

 house, lost housing opportunities, and economic loss.


            WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                       a)   For compensatory damages in excess of $75,000;
                       b)   For monetary damages in excess of $75,000;
                       c)   Pre and post-judgment interest;
                       d)   For reasonable attorney’s fees;
                       e)   Punitive Damages;
                       f)   For costs of suit herein incurred; and
                       g)   For such other and further relief as the court may deem proper.

            COUNT TWELVE - FALSE IMPRISONMENT (Malice in the Alternative^
                                 (Albert Brown)

     85.      The foregoing and subsequent paragraphs are incorporated by reference as if fully set

forth herein.
 /

     86.      All Defendants unlawfully deprived Plaintiff of his liberty.

     87.      Plaintiff did not consent to the deprivation of his liberty and was held against his will

for an extended period.

     88.      Defendants were without legal justification for depriving Plaintiff of his liberty.

     89.      The conduct of Defendants was grossly negligent, reckless, and/or perpetrated with

actual malice.      Indeed, Plaintiff was arrested for purposes other than prosecuting criminal

conduct, and suffered as a result.




                                                    14
     90.      There was no probable cause for arresting Plaintiff, and the arrest was made with a

 reckless disregard of the consequences affecting the life and property of Plaintiff, and a

 thoughtless disregard of the grave consequences to Plaintiff, without any effort on the part of

 Defendants to avoid them.

     91.     The injuries inflicted on Plaintiff by Defendants were done wantonly and willfully

 with such utter indifference to the rights of Plaintiff that Defendants acted in complete disregard

 of Plaintiff’s rights as if such rights did not exist.

     92.     As a direct and proximate result of the false imprisonment by Defendants, Plaintiff

 has sustained emotional, mental, and physical pain and suffering, missed time from work and

leisure activities, past and future medical expenses, loss of earnings and earning capacity, and

economic loss.

    WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                    a)   For compensatory damages in excess of $75,000;
                    b)   For monetary damages in excess of $75,000;
                    c)   Pre and post-judgment interest;
                    d)   For reasonable attorney’s fees;
                    e)   Punitive Damages;
                    f)   For costs of suit herein incurred; and
                    g)   For such other and further relief as the court may deem proper.

  COUNT THIRTEEN - MARYLAND DECLARATION OF RIGHTS (Articles 24 & 26)
                          (Albert Brown)

    93.     The foregoing paragraphs are incorporated by reference as if fully set forth herein.

    94.     Defendants violated Plaintiffs’ civil and constitutional rights, including their rights

under Articles 24 and 26 of the Maryland Declaration of Rights.

   95.      The Defendants’ actions were without legal justification and resulted in the false arrest

and false imprisonment of Plaintiff and directly caused injury to Plaintiff.

   96.      As a direct result of Defendants’ actions, Plaintiff was taken, imprisoned, disseized of



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his freehold, liberties and privileges, outlawed, exiled, destroyed, deprived of his life, liberty and

property without the judgment of his peers or by the law of the land and was subjected to an

illegal search and seizure.

    97.      All of Plaintiff s injuries, damages, and losses were solely and proximately caused by

Defendants, with no negligence on the part of Plaintiff contributing thereto.

    98.      As a direct and proximate result of Defendants violating articles 24 and 26 of the

Maryland Constitution, Plaintiff has sustained emotional, mental, and physical pain and suffering,

missed time from work and leisure activities, past and future medical expenses, loss of earnings

and earning capacity, and economic damages.

          WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                    a)   For compensatory damages in excess of $75,000;
                    b)   For monetary damages in excess of $75,000;
                    c)   Pre and post-judgment interest;
                    d)   For reasonable attorney’s fees;
                    e)   Punitive Damages;
                    f)   For costs of suit herein incurred; and
                    g)   For such other and further relief as the court may deem proper.




                                                       201 N. Charles Street, Suite 1900
                                                       Baltimore, Maryland 21202
                                                       Counselfor Plaintiff




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/




                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 20lh day of February, 2020, a copy of the foregoing

    Plaintiff s Amended Complaint was sent via first-class mail, postage prepaid to:

    Andre Davis, Esq., City Solicitor
    100 N. Holliday Street, Suite 101
    Baltimore, Maryland 21202

    Neil E. Duke, Esq.
    100 Light Street, 19th FI
    Baltimore, MD 21202




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    ALBERT BROWN                                  *       IN THE
    1031 N, Mount Street                                  CIRCUIT COURT
                                                  *"
    Baltimore,MD 21217*'
                                                           OF MARYLAND
            plaintiffs,                           *

                                                          FOR
            v.                                    *

                                                          BALTIMORE CITY
   OFFICER WAYNE E. JENKINS,                      *

   Baltimore City Police Department
   601 E. Fayette Street                          *

   Baltimore, MD 21202                                    Case No. :
                                                  *

   And
                                               *

  OFFICER JEMELL RAYAM,
  Baltimore City Police Department            *

  601 E. Fayette Street
  Baltimore, MD 21202                         *
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  And                                         *                                                  .-•’“O
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                                                          JURY TRIAL DEMANDED        2    o      o^m
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^^OW^r-Fayette-Street—                        *                                      ¥d v        v—f     1


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                                              *                                           U‘\

 Serve On:
 Andre Davis, Esq,, City Solicitor            *

 100 N. Holliday Street, Suite 101
 Baltimore, MD 21202                          *


         Defendants.


                           COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff Albert Brown, by and through their attorney Tony N. Garcia, Esquire, and Bates

 & Garcia LLC,, and Michael E. Glass, Esquire, MBA, and the Michael Glass Law Firm hereby

 bring this Complaint against Defendants, Officers Wayne E. Jenkins (“Jenkins”), Jemell Rayam

 (“Rayam”)«nd“1h:e-Baltim:ore-Gity-Palace-Department(2BCPE^(collectively, “Defendants”) and

 for cause states:



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                                 THE PARTIES. JURISPIOTION A1ND VENUE

             1.      Plaintiff Is a citizen of Baltimore City,’Maryland

         2.         Defendants Jenkins and Rayam, at all relevant times to Plaintiffs’ claims were officers

         of the BCPD. acting within the scope of his employment (unless stated otherwise herein).

         3.         >^-BeFBds"an"age!m3rof^aihmQre~Ci4^nddheJV[ayoiLandXity--ConnCTffterein)




         4.         This Court has jurisdiction over this case under Md. Cts. & Jud. Proc. § 6-103(b),

         because all of the Defendants live, transact business, perform work and provide services in

         Maryland, regularly conduct and solicit business in Maryland, and engage in other persistent

        courses of conduct in Maryland.

        5.         Venue for this case is proper under Md. Cts. & Jud. Proc. § 6-201(a) and 6~201(b)5

        because Defendants all carry on regular business in Baltimore City, Maryland, and Plaintiffs’

        complained of injury occurred in Baltimore City, Maryland.

                                           STATEMENT OF EACTS

        6.         On or around August 1, 2016, Jenkins and Rayam were working in plain clothes in an

        unmarked vehicle. Jenkins and Rayam observed a black Honda Odyssey in a gas station parking

        lot at 3312 Reisterstown Road and stopped Plaintiff without justification. Without cause, Jenkins

        and Rayam searched his vehicle, and falsely arrested him on narcotics and firearm charges.

    7.            Jenkins and Rayam proceeded to then go to Plaintiffs house and performed a

    warrantless search of the house which resulted in additional charges including multiple narcotics

    charges including possession (large amount), possession with intent to use, and possession with

    intent to distribute, in District Court Case No. 3B02329687 and Circuit Court Case No. 116235004

    and 1162385008.




                                                        2
   8.           It Is well known that these officers have engaged in crimes including but not limited to

   making false arrests, filing false police reports, racketeering, conspiracy, overtime fraud,

   corruption, drug conspiracy, robbery of victims, and a variety of other illegal activities.

   9.          Upon information and belief, at the time of Plaintiff s arrest on August 1, 2016, these

   officers were under investigation for illegal activity, and the BCPD knew that any arrests made or

  police reports filed by these officers were suspect and likely to be false and/or unsupported by

  evidence (including but not limited to thefts perpetrated on March 22,2016 and July 8,2016) prior

  to Plaintiffs arrests,

  10.         The-BGP-U4irthcr^mewihatiire'se“offxc®,S'werednvofvedimilawfiiLstaps-.ofGith3cn&1

 -and^obberies-eenmaihed^irmhidin^^Semhh antPpmrlreti-ng-monewldiiEingtlieseunlawfi]! stopa.^

  11.         Defendants Jenkins, and Rayam were not properly trained, supervised, disciplined or

  screened and were knowingly allowed to perpetrate crimes against Baltimore and Maryland

  citizens, including Plaintiff.

  12.        Defendants Jenkins, and Rayam engaged in a pattern and practice of false arrests, filing

 false police reports, and other crimes, *and-fcMh&“B©PD-eithej^hacLa^itaLon-const-i'uetive-




 13.         Defendants Jenkins, and Rayam engaged in an unconstitutional pattern of depriving

 citizens (including Plaintiff) of life, liberty and property and, upen-^nfermatioiuaiaddieLieft-the-^.
                                                               0 **




^BSPD^hlMebad-aetufthor'Senstoetive.lcno-wkdge-ofts^.ei--

 14.         The charges brought against Plaintiff were ultimately nolle pressed, but not before he

 was forced to incur costs to post bond (that was set at $200,000) and pay atfomeys’ fees.

 15.        Plaintiff incurred humiliation, and substantial mental pain and suffering as a result of

 the false, meritless charges and arrest, and incarceration. Plaintiff incurred substantial financial




                                                   3
  hardship, and suffered severe mental anguish, medical and other related expenses, loss of income,

  loss of dignity, and trauma as a result of being defamed, falsely charged, and falsely arrested.

■ 16.        Indeed, given the complete lack of evidence and that the case was fabricated, it never

  should have gone forward to begin with.            Thus, Plaintiff was charged and incarcerated

  unnecessarily, and forced to incur unnecessary economic hardship and severe mental anguish,

 medical and other related expenses, loss of income, loss of dignity, and trauma.

                        COUNT ONE - INTENTIONAL DEFAMATION

 17.         The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

 18.         The Defendants' allegations that Plaintiffs committed various crimes are defamatory in

 nature as they exposed Plaintiff, as a private person, to public scorn, hatred, contempt, ridicule and

 otherwise impugned Plaintiffs character.

 19.        The accusations that Plaintiff committed various crimes imputes defamatory character

 and are actionable per se.

20.         Defendants published their defamatory statements to third persons including the police,

the office of the State's Attorney, the courts and the public in general.

21.        Defendants' allegations were demonstrably false and ultimately resulted in the charges

against Plaintiffs being nolle prossed,

22.        Defendants knew that the allegations were false, and, as such, acted with actual malice

as they possessed knowledge of the falsity of the statements or reckless disregard for the truth of

the statements, such knowledge which can be imputed to Defendants.

23.        Indeed, Defendants had established a pattern and practice of falsely charging citizens

of Baltimore City and committing other crimes.




                                                 4
   24.                                                        J-eiridns=aHd“"Rayam"had^a_pattem»ai3.d-




   25.        As a direct and proximate result of Defendants’ defamatory statements, Plaintiff was

  incarcerated unnecessarily, lost business opportunities, incurred substantial financial hardship,

  medical and other related expenses, suffered loss of income, and additionally suffered severe

  mental anguish, loss of dignity, trauma, inconvenience, and damage to image and reputation as a

  result of the false accusations and incarceration.

         WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
  follows:
              a) For compensatory and punitive damages in excess of $75,000;
             b) For monetary damages in excess of $75,000;
             c) Pre and post-judgment interest;
             d) For reasonable attorney’s fees;
             e) For costs of suit herein incurred; and
             f) For such other and further relief as the court may deem proper.

                         COUNT TWO - NEGLIGENT DEFAMATION
                                  fin the alternative^

26,         The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

27.         The Defendants' allegations that Plaintiff committed various crimes are defamatory in

nature as they exposed Plaintiffs, private persons, to public scorn, hatred, contempt, and ridicule.

28.         Defendants published their defamatory statements to third persons including hut not

limited to police, the office of the State's Attorney, the courts and the public in general.

29.         Defendants' allegations were demonstrably false and ultimately resulted in the charges

against Plaintiffs being nolle pressed.                       ^ ^     ^ n
3 0.       Defendants acted negligently bjJnaccurately identifying the Plaintiff to authorities and


others, by Ming to verify any of their allegations before publication, by failing to investigate, by




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   making statements without knowledge of their accuracy, by overstating their confidence in their

   allegations, by rushing to judgment, by erroneously relying on Plaintiffs' records as basis for guilt,

  and were otherwise negligent.

  31.      As a direct and proximate result of Defendants’ defamatory statements, Plaintiff was

  incarcerated unnecessarily, lost business opportunities, incurred substantial financial hardship,

  medical and other related expenses, suffered loss of income, and additionally suffered severe

  mental anguish, loss of dignity, trauma, inconvenience, and injury to reputation and image as a

 result of the false accusations and incarceration.

        WHEREFORE, Plaintiffs pray judgment jointly and severally against Defendants as
 follows:
            a) For compensatory damages in excess of $75,000;
            b) For monetary damages in excess of $75,000;
            c) Pre and post-judgment interest;
            d) For costs of suit herein incurred; and
            e) For such, other and further relief as the court may deem proper.

       COUNT THREE - INVASION OF PRIVACY - INTRUSION UPON SECLUSION
                               (Albert Brown)

 32.         The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

 33.        The Defendants' allegations that Plaintiff committed various crimes led to Plaintiffs

public arrest.

34.         Defendants possessed knowledge of the falsity of the statements or reckless disregard

for the truth of the statements.

3 5.       Defendants, subjectively and objectively knew or should have known that intruding into

Plaintiffs private life and causing his illegal arrest and the institution of criminal proceedings

against him would be highly offensive to a reasonable person.

36.         As a direct and proximate result of Defendants’ offensive intrusion upon Plaintiffs

personal life, Plaintiff was incarcerated unnecessarily for approximately four months, lost his job,



                                                   6
   incurred substantial financial hardship, medical and other related expenses, suffered loss of

  income, and additionally suffered severe mental anguish, loss of dignity, trauma, inconvenience,

  and the exacerbation of preexisting depression and sensitive medical conditions as a result of the

  false accusations and incarceration.

          WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
  follows:
              a) For compensatory and punitive damages in excess of $75,000;
              b) Monetary damages in excess of $75,000;
              c) Pre and post-judgment interest;
              d) For reasonable attorney’s fees;
              e) For cos ts of suit herein incurred; and
              £) For such other and further relief as the court may deem proper.

   COUNT FOUR - INVASION OF PRIVACY - UNREASONABLE PUBLICITY GIVEN
                            TO PRIVATE LIFE
                              (Albert Brown)

 3 7.       The preceding and subsequent paragraphs are incorporated as if fully set forth herein,

 38.         The Defendants' allegations that Plaintiff committed various crimes led to Plaintiffs

 public arrest.

 39.         Defendants possessed knowledge of the falsity of the statements or reckless disregard

for the truth of the statements.

40.         Defendants' published to others purported matters of Plaintiffs private life that were

false and therefore not of valid concern to the public.

41.         Defendants subjectively and objectively knew or should have known that intruding into

Plaintiffs private life and causing his illegal arrest and the institution of criminal proceedings

against him would be highly offensive to a reasonable person.
                                                                                           i

42.         As a direct and proximate result of Defendants’ offensive intrusion upon Plaintiffs

personal life. Plaintiff was incarcerated unnecessarily for approximately four months, lost his job,

incurred substantial financial hardship, medical and other related expenses, suffered loss of



                                                 7
   income, and additionally suffered severe mental anguish, loss of dignity, trauma, inconvenience,

  and the exacerbation of preexisting depression and sensitive medical conditions as a result of the

  false accusations and incarceration,

         WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
  follows:
             a) For compensatory and punitive damages in excess of $75,000;
             b) For monetary damages in excess of $75,000;
             c) Pre and post-judgment interest;
             d) For reasonable attorney’s fees;
             e) For costs of suit herein incurred; and
             f) For such other and further relief as the court may deem proper.

 COUNT FIVE - INVASION OF PRIVACY - PLACING A PERSON IN A FALSE LTGFTT
                             (Albert Brown)

 43.         The preceding and subsequent paragraphs are incorporated as if fully set forth herein.

 44.         The Defendants' allegations that Plaintiff committed various crimes are defamatory in

 nature as they exposed Plaintiff, a private person, to public scorn, adverse publicity, hatred,

 contempt, ridicule and otherwise impugned Plaintiffs character.

 45.         The accusations that Plaintiff committed various crimes imputes defamatory character

 and are actionable per se,

46.         Defendants published, their defamatory statements to third persons including but not

limited to Park West staff, police, the office of the State's Attorney, the courts and the public in

general, all the while knowing that their defamatory statements were false and untrue, and which

placed Plaintiff in a false light.

47.         Defendants' allegations were demonstrably false and ultimately resulted in the charges

against Plaintiff being nolle pressed.

48.         Defendants acted with actual malice as they possessed knowledge of the falsity of the

statements or reckless disregard for the truth of the statements.




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>•,




        49.          The Defendants' allegations that Plaintiff committed various crimes led to Plaintiffs

        public arrest.

        50.         Defendants subjectively and objectively knew or should have known their conduct and

        allegationSj causing Plaintiffs illegal arrest and the institution of criminal proceedings against him,

       would be highly offensive to a reasonable person under the circumstances.

       51.          As a direct and proximate result of Defendants’ conduct, Plaintiff was incarcerated

       unnecessarily, placed in a false light, lost Ms job, incurred substantial financial hardship, medical

       and other related expenses, suffered loss of income, and additionally suffered severe mental

       anguish, loss of dignity, trauma, inconvenience, and the exacerbation of preexisting depression

       and sensitive medical conditions as a result of the false accusations and incarceration.

              WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
       follows:
                  a) For compensatory and punitive damages in excess of $75,000;
                  b) For monetary damages in excess of $75,000;
                  c) Pre and post-judgment interest;
                  d) For reasonable attorney’s fees;
                  e) For costs of suit herein incurred; and
                  f) For such other and further relief as the court may deem proper.

                         COUNT SIX - NEGLIGENCE/NEGLIGENT TRAINING
                                         (Albert Brown)

      52.         The preceding and subsequent paragraphs (with the exceptions of Counts One, Three,

      Four, Five, Seven and Eight) are incorporated as if fully set forth herein.

      53.         All Defendants owed the general public an ordinary duty of care and also owed

      Plaintiff, a specific duty of care to protect his interests, health, confidentiality, and his privacy.




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^ayamJajg^amt-^imes^gaimt^a^a-^w^wag^lace^a^gteal’&^eeag&wefeiye-aettee^

►4ieirbehEYW.

 57.        ^B®feadaiifsgBGFD°br@gted-feei^dufau3£^aL^byj,mt,piaparIy^traiiiing.^SHpet^Ufagr.

.^fi^3kte^^f~s@eemflg--B«i^a^ts^»akma-'-itadiHftaya3aa«-^a^]mQ^ffitogi^u8llQwed4h€m-t0^




 58,        Defendants Jenkins and Rayam breached their duty of care as employees of Defendant

 BCPD and individually by engaging in a pattern and practice of false arrests, filing false police

 reports, unlawful entry into people’s homes, illegally searching citizens, illegally seizing private




   ■t^€^h«%©ha¥im4R^4imely-marm©Mr-protecUlie-victims4inGludmg-B.laintiff)r“

59.         Defendant BCPD had actual or constructive notice of Defendants Jenkins and Rayam

criminal behavior, thereby failing to halt the behavior in a timely manner, deprived citizens

(including Plaintiff) of their life, liberty, and property.

60.        As a direct and proximate result of Defendant officer individually and/or Defendant

BCPD and/or the negligent training of Defendant BCPD of the other’ Defendants named to this

action Plaintiff suffered unlawful incarceration, financial losses, humiliation, mental anguish, loss

of income, incurred attorney fees, and other- related expenses.

       WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
           a) For compensatory damages in excess of $75,000;
           b) For monetary damages in excess of $75,000;



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                   c) Pre and post-judgment interest;
                   d) For costs of suit herein incmTed; and
                   e) For such other and further relief as the court may deem proper.

        COUNT SEVEN - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                               (Albert Brown)

  61.         The preceding and subsequent paragraphs (with the exceptions of Counts Two and Six)

  are incoiporated as if fully set forth herein.

 62.         The Defendants' allegations that Plaintiff committed various crimes are severe, extreme

 and outrageous.

 63.         Defendants' allegations were intentionally or recklessly designed to cause to

 punishment, sanctions, incarceration, public scorn, hatred, contempt, and ridicule^

 64.         As a direct and proximate result of Defendants' wrongful statements and actions,

 Plaintiff was incarcerated unnecessarily, lost his job, incurred substantial financial hardship,

medical and other related expenses, suffered loss of income, and additionally suffered severe

mental anguish, emotional distress, loss of dignity, trauma, inconvenience, and the exacerbation

of preexisting depression and sensitive medical conditions as a result of the false accusations and

incarceration.

       WHEKEFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows:
           a) For compensatory and punitive damages in excess of $75,000;
           b) For monetary damages in excess of $75,000;
           c) Pre and post-judgment interest;
           d) For reasonable attorney's fees;
           e) For costs of suit herein incurred; and
           f) For such other and further relief as the court may deem proper.

                       COUNT EIGHT - MALICIOUS PROSECUTION
                                   (Albert Brown)

65.          The preceding and subsequent paragraphs (with the exceptions of Counts Two and Six)

are incorporated as if fully set forth herein.



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  66.         The Defendants' statements to police alleging that Plaintiff committed various crimes
  /
  against their persons and property directly resulted in the institution of a criminal proceeding by

  the Defendants against the Plaintiff.

  67.            The criminal proceedings were subsequently nolle pressed and therefore terminated in

  favor of the Plaintiff.

  68.         The basis for the nolle pros was that there was a complete absence of probable cause

  for the proceeding and Defendants' allegations were unsubstantiated and false.

 69.         The prosecution was instituted with malice.

 70.         Defendants are responsible for directing or requesting a prosecution on the basis of

 information which was known to be false.

 71.        Defendants withheld information from police which reasonable persons would realize

 might affect the ability to criminally prosecute.

 72.        Defendants gave inaccurate information to the police or prosecutor.

 73.        Defendants allowed the prosecution, once initiated, to continue for months after the

Defendants learned or reasonably should have known that the underlying facts on which the

prosecution was based were false (and therefore probable cause was lacking).

74.         As a direct and proximate result of Defendants, initiation of a wrongful prosecution,

Plaintiff was incarcerated unnecessarily, lost his job, incurred substantial financial hardship,

medical and other related expenses, suffered loss of income, and additionally suffered severe

mental anguish, emotional distress, loss of dignity, trauma, inconvenience, and the exacerbation

of preexisting depression and sensitive medical conditions as a result of the false accusations and

incarceration.

       WHEREFORE, Plaintiff prays judgment jointly and severally against Defendants as
follows;



                                                  12
                    a)   For compensatory and punitive damages in excess of $75,000;
                   _b)   For monetary damagesjtti excess of $75,000;
                   c)    Pre and post-j udgment interest;
                   d)    For reasonable attorney’s fees;
                   e)    For costs of suit herein incurred; and
                   f)    For such other and further relief as the court may deem proper.

                                    COUNT NINE - FALSE ARREST
                                          (Albert Brown)

     75.       The prior and subsequent paragraphs are incorporated as if fully set forth herein.

     76.       Defendants Jenkins and Rayam unlawfully deprived Plaintiff of his liberty.

    77.        Plaintiff did not consent to the deprivation of his liberty and was held against his

will for an extended period.

    78.        Defendant and the BCPD were without legal justification for depriving Plaintiff of

his liberty.

    79.        As a direct and proximate result of the false imprisonment by Defendant Jenkins and

Rayam and the BCPD, Plaintiff has sustained emotional, mental, and physical pain and

suffering, and economic loss.

          WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                     a)   For compensatory damages in excess of $75,000;
                     b)   For monetary damages in excess of $75,000;
                     c)   Pre and post-judgment interest;
                     d)   For reasonable attorney’s fees;
                     e)   For costs of suit herein incurred; and
                     f)   For such other and further relief as the court may deem proper.

               COUNT TEN - FALSE ARREST (Actual Malice in the Alternative^
                                  (Albert Brown)

   80.      The prior and subsequent paragraphs are incorporated as if fully set forth herein.

  81.      ^DofendantS7-the-H6PB7TtemgerrtS7mrd"employees”unlawfblty-depH-vod"Plain.tiff0-f--




                          f

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       82.      Plaintiff did not consent to the deprivation of his liberty and was held against his

   will for an extended period.

       83.      Defendants, their agents, and their employees were without legal justification for

   depriving Plaintiff of his liberty.

       84.      The conduct of Defendant was grossly negligent, reckless, and/or perpetrated with

   actual malice. Indeed, Plaintiff was arrested for reasons other than in pursuit ofprosecuting

  criminal conduct allegedly perpetrated by Plaintiff.

      85.      There was no probable cause for arresting Plaintiff, and the arrest was made with a

  reckless disregard of the consequences affecting the life and property of Plaintiff, and a

  thoughtless disregard of the grave consequences to PlaintifL-wfeout-aHy-offGrton-the^pa^of-




     86.       The injuries inflicted on Plaintiff by Defendants were done wantonly and willfully

  with such utter indifference to the rights of Plaintiff that Defendants acted in complete disregard

 of Plaintiff s rights as if such rights did not exist.

     87.      As a direct and proximate result of the false imprisonment by Defend.anSj-fe“D6PD7

,<4tsuigents^4.®mploye@s3?Plamtiff has sustained emotional, mental, and physical pain and

 suffering, missed time from work and leisure activities, past and future medical expenses; and

 economic loss.

           WHEREFORE, Pkintiffprays judgment against Defendants as follows:

                     a)   For compensatory damages in excess of $75,000;
                     b)   For monetary damages in excess of $75,000;
                     c)   Pre and post-judgment interest;
                     d)   For reasonable attorney’s fees;
                     e)   Punitive Damages;
                     f)   For costs of suit herein incurred; and
                     g)   For such other and further relief as the court may deem proper.




                                                    14
                           COUNT ELEVEN - FALSE IMPRISONMENT
                                      (Albert Brown)

      88.        The foregoing and subsequent pai'agraphs are incorporated by reference as if fully set

  forth herein.

      89.       All Defendants ^elu4i£ig4he“BCP©rhs^gen’tgrand-^Bpleyees.unlawfully deprived

  Plaintiff oflthcirliberty,

      90.       Plaintiff did not consent to the deprivation of his liberty and was held against his will

  for an extended period.

     91.        Defendants3^BCPD^its~ag^rte5-and“’efi3ploy§e&- were without legal justification for

 depriving Plaintiff of his liberty.

     92.        As a direct and proximate result of the false imprisonment by Defendants, their agents,

 and their employees, Plaintiff has sustained emotional, mental,, and physical pain and suffering,

 missed time from work and leisure activities, past and fixture medical expenses; eviction from his

 house, lost housing opportunities, and economic loss.


           WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                      a)   For compensatory damages in excess of $75,000;
                      b)   For monetary damages in excess of $75,000;
                      c)   Pre and post-j udgment interest;
                      d)   For reasonable attorney’s fees;
                      e)   Punitive Damages;
                      f)   For costs of suit herein incurred; and
                      g)   For such other and further relief as the court may deem proper.

           COUNT TWELVE - FALSE IMPRISONMENT (Malice in the Alternative)
                                (Albert Brown)

    93.     The foregoing and subsequent paragraphs are incorporated by reference as if fully set

forth herein.




                                                    15
       94.      All Defendants-fiieWtRg-tfee^GP^-fts^^eHtSraad^R^leyees-unlawfully deprived

   Plaintiff of his liberty.

       95.     Plaintiff did not consent to the deprivation of his liberty and was held against his will

   for an extended period.

      96.      Defendants ^nddiie-BGPDT-fchet^ageBtSr^id-fheir-empl&yees-were without legal

  justification for depriving Plaintiff of his liberty.

      97.      The conduct of Defendants ^nd-theJ^C£lX^dieir^ag^nts:^nfldAeir_employea£uwfi.q

  grossly negligent, reckless, and/or perpetrated with actual malice. Indeed, Plaintiff was arrested

  for purposes other than prosecuting criminal conducts-

      98.     There was no probable cause for arresting Plaintiff, and the arrest was made with a

  reckless disregard of the consequences affecting the life and property of Plaintiff, and a

  thoughtless disregard of the grave consequences to Plaintiff, without any effort on the part of

 Defendants to avoid them.

     99.     The injuries inflicted on Plaintiff by Defendants were done wantonly and willfully

 with such utter indifference to the rights of Plaintiff that Defendants acted in complete disregard

 of Plaintiff’s rights as if such rights did not exist.

     100.    As a direct and proximate result of the false imprisonment by Defendants.-an4“the“

—DePB-theiHigenter^idTheinemployecs^Plaintiffhas sustained emotional, mental, and physical

 pain and suffering, missed time from work and leisure activities, past and future medical

 expenses, loss of earnings and earning capacity, and economic loss.

    WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                     a)   For compensatory damages in excess of $75,000;
                     b)   For monetary damages in excess of $75,000;
                     c)   Pre and post-judgment interest;
                     d)   For reasonable attorney’s fees;



                                                    16
                      e) Punitive Damages;
                      f) For costs of suit herein incurred; and
                      g) For such other and further relief as the court may deem proper.

    COUNT THIRTEEN - MARYLAND DECLARATION OF RIGHTS (Articles 24 &
                            (Albert Brown)

      101.    The foregoing paragraphs are incorporated by reference as if fully set forth herein.

      102.    Defendantsjnefedh^h©-BCEDj4i^^gants^ndih£dLfimpIoyees4dolated Plaintiffs’

 civil and constitutional rights, including their rights under Articles 24 and 26 of the Maryland

 Declaration of Rights.

     103.     The Defendants’ actions were without legal justification and resulted in the false arrest

 and false imprisonment of Plaintiff and directly caused injury to Plaintiff.

     104.    As a direct result of Defendant’s actions, Plaintiff was taken, imprisoned, disseized of

 Ills freehold, liberties and. privileges, outlawed, exiled, destroyed, deprived of his life, liberty and

property without the judgment of his peers or by the law of the land and was subjected to an

illegal search and seizure.

    105.     All of Plaintiffs injuries, damages, and losses were solely and proximately caused by

Defendants *ndrih:e^6P©rthe'tf^^;^raaththeir»employc©S5-with no negligence on the part of

Plamtiffcontributingthereto.

    106.     As a direct and proximate result of Defendants violating articles 24 and 26 of the

Maryland Constitution, Plaintiff has sustained emotional, mental, and physical pain and suffering,

missed time from work and leisure activities, past and future medical expenses, loss of earnings

and earning capacity, and economic damages.

       WHEREFORE, Plaintiff prays judgment against Defendants as follows:

                   a) For compensatory damages in excess of $75,000;
                   b) For monetary damages in excess of $75,000;
                   c) Pre and post-judgment interest;



                                                   17
                    d)   For reasonable attorney’s fees;
                    e)   Punitive Damages;
                    Q    For costs of suit herein incurred; and
                    g)   For such other and fiirther relief as the court may deem proper.


                                                       Respectfully submitted,




                                                       Tony in. uraruia
                                                       Bates & Garcia LLC.
                                                       201 N. Charles Street, Suite 1900
                                                       Baltimore, Maryland 21201
                                                       Counselfor Plaintiff




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of My, 2019, a copy of the foregoing

Plaintiffs’ Complaint was sent via first-class mail, postage prepaid to;

Andre Davis, Esq., City Solicitor
100 N. Holliday Street, Suite 101
Baltimore, Maryland 21202




                                                      Tony N. Garcia, Esq.




                                                18
  ALBERT BROWN                                      *       IN THE
  103 i N. Mbiint Street                                  ' CIRCUIT COURT............
  Baltimore, MD 21217                               *

                                                           OF MARYLAND
         Plaintiffs,                                *

                                                          FOR
         v.                                         *

                                                          BALTIMORE CITY
 OFFICER WAYNE E, JENKINS,                         *

 Baltimore City Police Department
 601 E. Fayette Street                             *

 Baltimore, MD 21202                                      Case No.: 24-C-17-00^______
                                                   *

 And                                                                                        \

                                                   *

OFFICER JEMELL RAYAM,
Baltimore City Police Department                *

601 E. Fayette Street
Baltimore, MD 21202                             *



And                                             *



BALTIMORE CITY POLICE                          *          JURY TRIAL DEMANDED
DEPARTMENT
601 E. Fayette Street                          *

Baltimore, MD 21202
                                               *

Serve On:
Andre Davis, Esq., City Solicitor              *

100 N. Holliday Street, Suite 101
Baltimore, MD 21202                            *



       Defendants.                             *


******                                         ******


                                REQUEST FOR JURY TRIAL

       Plaintiff hereby elects to have his case tried before a jury.

                                                              «-■                       \


                                                                                  vilM

                                                         Tony N. Garcia, ,sq.



                                                    19
Baxes <& Garcia, LBC.
          ATTORNEYS AT LAW

    201 N. Charles Street • Suite 1900
       Baltimore, Maryland 21201




                                         Andre Davis, Esquire, City Solicitor
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                                         Baltimore, Maryland 21202




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                                         Neil E. Duke, Esquire
                                         100 Light Street, 19th Floor
                                         Baltimore, Maryland 21202
